                  Case 19-10684-KG              Doc 2      Filed 04/01/19      Page 1 of 21



                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

------------------------------------------------------------------- x
In re:                                                              :
                                                                    :   Chapter 11
HEXION HOLDINGS LLC,                                                :
                                                                    :   Case No. 19-10684 ( )
                                             Debtor.                :
                                                                    :
Tax I.D. No. XX-XXXXXXX                                             :
------------------------------------------------------------------- x
In re:                                                              :
                                                                    :   Chapter 11
HEXION LLC,                                                         :
                                                                    :   Case No. 19-10685 ( )
                                             Debtor.                :
                                                                    :
Tax I.D. No. XX-XXXXXXX                                             :
------------------------------------------------------------------- x
In re:                                                              :
                                                                    :   Chapter 11
HEXION INC.,                                                        :
                                                                    :   Case No. 19-10687 ( )
                                             Debtor.                :
                                                                    :
Tax I.D. No. XX-XXXXXXX                                             :
------------------------------------------------------------------- x
In re:                                                              :
                                                                    :   Chapter 11
LAWTER INTERNATIONAL INC.,                                          :
                                                                    :   Case No. 19-10689 ( )
                                             Debtor.                :
                                                                    :
Tax I.D. No. XX-XXXXXXX                                             :
------------------------------------------------------------------- x
In re:                                                              :
                                                                    :   Chapter 11
HEXION CI HOLDING COMPANY (CHINA) LLC, :
                                                                    :   Case No. 19-10690 ( )
                                             Debtor.                :
                                                                    :
Tax I.D. No. XX-XXXXXXX                                             :
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                  Case 19-10684-KG              Doc 2      Filed 04/01/19      Page 2 of 21



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In re:                                                              :
                                                                    :   Chapter 11
HEXION NIMBUS INC.,                                                 :
                                                                    :   Case No. 19-10692 ( )
                                             Debtor.                :
                                                                    :
Tax I.D. No. XX-XXXXXXX                                             :
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------------------------------------------------------------------- x
In re:                                                              :
                                                                    :   Chapter 11
HEXION NIMBUS ASSET HOLDINGS LLC,                                   :
                                                                    :   Case No. 19-10964 ( )
                                             Debtor.                :
                                                                    :
Tax I.D. No. XX-XXXXXXX                                             :
------------------------------------------------------------------- x
In re:                                                              :
                                                                    :   Chapter 11
HEXION DEER PARK LLC,                                               :
                                                                    :   Case No. 19-10696 ( )
                                             Debtor.                :
                                                                    :
Tax I.D. No. XX-XXXXXXX                                             :
------------------------------------------------------------------- x
In re:                                                              :
                                                                    :   Chapter 11
HEXION VAD LLC,                                                     :
                                                                    :   Case No. 19-10698 ( )
                                             Debtor.                :
                                                                    :
Tax I.D. No. XX-XXXXXXX                                             :
                                                                    :
------------------------------------------------------------------- x
In re:                                                              :
                                                                    :   Chapter 11
HEXION 2 U.S. FINANCE CORP.,                                        :
                                                                    :   Case No. 19-10686 ( )
                                             Debtor.                :
                                                                    :
Tax I.D. No. XX-XXXXXXX                                             :
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                  Case 19-10684-KG              Doc 2      Filed 04/01/19      Page 3 of 21



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In re:                                                              :
                                                                    :   Chapter 11
HEXION HSM HOLDINGS LLC,                                            :
                                                                    :   Case No. 16-10688 ( )
                                             Debtor.                :
                                                                    :
Tax I.D. No. XX-XXXXXXX                                             :
------------------------------------------------------------------- x
In re:                                                              :
                                                                    :   Chapter 11
HEXION INVESTMENTS INC.,                                            :
                                                                    :   Case No. 19-10691 ( )
                                             Debtor.                :
                                                                    :
Tax I.D. No. XX-XXXXXXX                                             :
------------------------------------------------------------------- x
In re:                                                              :
                                                                    :   Chapter 11
HEXION INTERNATIONAL INC.,                                          :
                                                                    :   Case No. 19-10693 ( )
                                             Debtor.                :
                                                                    :
Tax I.D. No. XX-XXXXXXX                                             :
------------------------------------------------------------------- x
In re:                                                              :
                                                                    :   Chapter 11
NORTH AMERICAN SUGAR INDUSTRIES                                     :
INCORPORATED,                                                       :   Case No. 19-10695 ( )
                                                                    :
                                             Debtor.                :
                                                                    :
Tax I.D. No. XX-XXXXXXX                                             :
------------------------------------------------------------------- x
In re:                                                              :
                                                                    :   Chapter 11
CUBAN-AMERICAN MERCANTILE                                           :
CORPORATION,                                                        :   Case No. 19-10697 ( )
                                                                    :
                                             Debtor.                :
                                                                    :
Tax I.D. No. XX-XXXXXXX                                             :
------------------------------------------------------------------- x




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In re:                                                              :
                                                                    :   Chapter 11
THE WEST INDIA COMPANY,                                             :
                                                                    :   Case No. 19-10699 ( )
                                             Debtor.                :
                                                                    :
Tax I.D. No. XX-XXXXXXX                                             :
------------------------------------------------------------------- x
In re:                                                              :
                                                                    :   Chapter 11
NL COOP HOLDINGS LLC,                                               :
                                                                    :   Case No. 19-10700 ( )
                                             Debtor.                :
                                                                    :
Tax I.D. No. XX-XXXXXXX                                             :
------------------------------------------------------------------- x
In re:                                                              :
                                                                    :   Chapter 11
HEXION NOVA SCOTIA FINANCE, ULC,                                    :
                                                                    :   Case No. 19-10701 ( )
                                             Debtor.                :
                                                                    :
Tax I.D. No. N/A                                                    :
------------------------------------------------------------------- x




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                  DEBTORS’ MOTION FOR ENTRY OF AN ORDER
             DIRECTING JOINT ADMINISTRATION OF CHAPTER 11 CASES


                  Hexion Holdings LLC (“Hexion”) and its affiliated debtors and debtors in

possession (collectively, the “Debtors”)1 respectfully submit this motion for the entry of an

order, substantially in the form attached hereto as Exhibit A (the “Proposed Order”), pursuant

to sections 105(a) and 521(a)(1)(B) of title 11 of the United States Code (the “Bankruptcy

Code”), rule 1007 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and

rule 1007-1(b) of the Local Rules of Bankruptcy Practice and Procedure of the United States

Bankruptcy Court for the District of Delaware (the “Local Rules”), directing the joint

administration of their chapter 11 cases for procedural purposes only and granting related relief.

In support of this motion, the Debtors respectfully represent:

                                       JURISDICTION AND VENUE

                  1.       This Court has jurisdiction to consider this motion under 28 U.S.C. §§ 157

and 1334 and the Amended Standing Order of Reference from the United States District Court

for the District of Delaware dated as of February 29, 2012. This is a core proceeding pursuant to

28 U.S.C. § 157(b), and, pursuant to Local Rule 9013-1(f), the Debtors consent to the entry of a

final order by the Court in connection with this motion to the extent that it is later determined

that the Court, absent consent of the parties, cannot enter final orders or judgments in connection

herewith consistent with Article III of the United States Constitution. Venue is proper before the



1
  The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are
Hexion Holdings LLC (6842); Hexion LLC (8090); Hexion Inc. (1250); Lawter International Inc. (0818); Hexion CI
Holding Company (China) LLC (7441); Hexion Nimbus Inc. (4409); Hexion Nimbus Asset Holdings LLC (4409);
Hexion Deer Park LLC (8302); Hexion VAD LLC (6340); Hexion 2 U.S. Finance Corp. (2643); Hexion HSM
Holdings LLC (7131); Hexion Investments Inc. (0359); Hexion International Inc. (3048); North American Sugar
Industries Incorporated (9735); Cuban-American Mercantile Corporation (9734); The West India Company (2288);
NL Coop Holdings LLC (0696); and Hexion Nova Scotia Finance, ULC (N/A). The address of the Debtors’
corporate headquarters is 180 East Broad Street, Columbus, Ohio 43215.


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                     Case 19-10684-KG            Doc 2      Filed 04/01/19        Page 6 of 21



Court pursuant to 28 U.S.C. §§ 1408 and 1409. The statutory and legal predicates for the relief

requested herein are rule 1015(b) of the Bankruptcy Rules and Local Rule 1015-1.

                                                 BACKGROUND

                    1.       On April 1, 2019 (the “Petition Date”), each of the Debtors commenced a

voluntary case under chapter 11 of the Bankruptcy Code with the United States Bankruptcy

Court for the District of Delaware. The Debtors are authorized to operate their business and

manage their properties as debtors in possession pursuant to sections 1107(a) and 1108 of the

Bankruptcy Code. No official committees have been appointed in these chapter 11 cases and no

request has been made for the appointment of a trustee or examiner.

                    2.       Additional information about the Debtors’ business, capital structure, and

the events leading up to the Petition Date are set forth in the Declaration of George F. Knight,

Executive Vice President and Chief Financial Officer, in Support of the Debtors’ Chapter 11

Petitions and First Day Pleadings (the “Knight Declaration”), filed on the Petition Date. 2

                                             RELIEF REQUESTED

                    3.       By this motion, pursuant to Bankruptcy Rule 1015(b) and Local Rule

1015-1, the Debtors request entry of an order, substantially in the form attached as Exhibit A,

directing procedural consolidation and joint administration of these chapter 11 cases.

                    4.       In addition, the Debtors request that the caption of their chapter 11 cases

in all pleadings and notices in the jointly administered cases be as follows:




2
    Capitalized terms used but not defined in this motion have the meanings used in the Knight Declaration.
                                                           2
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                    x
In re:                                              :     Chapter 11
                                                    :
HEXION HOLDINGS LLC, et al.,                        :     Case No. 19-10684 ( )
                                                    :
                           Debtors.                 :     Jointly Administered
                                                    x

                  5.       The Debtors also seek waiver of the requirements of section 342(c)(1) of

the Bankruptcy Code and Bankruptcy Rules 1005 and 2002(n) that the case caption on pleadings

and notices in these cases contain the name, tax identification number, and address of each

Debtor and any names used by each Debtor in the previous eight years. As an alternative to

including this information in each caption, the Debtors propose to include the following footnote

to each pleading filed and notice mailed by the Debtors, listing the Debtors in these chapter 11

cases and the last four digits of their tax identification numbers along with the address of the

Debtors’ corporate headquarters:

                  The Debtors in these cases, along with the last four digits of each
                  Debtor’s federal tax identification number, are Hexion Holdings
                  LLC (6842); Hexion LLC (8090); Hexion Inc. (1250); Lawter
                  International Inc. (0818); Hexion CI Holding Company (China)
                  LLC (7441); Hexion Nimbus Inc. (4409); Hexion Nimbus Asset
                  Holdings LLC (4409); Hexion Deer Park LLC (8302); Hexion
                  VAD LLC (6340); Hexion 2 U.S. Finance Corp. (2643); Hexion
                  HSM Holdings LLC (7131); Hexion Investments Inc. (0359);
                  Hexion International Inc. (3048); North American Sugar Industries
                  Incorporated (9735); Cuban-American Mercantile Corporation
                  (9734); The West India Company (2288); NL Coop Holdings LLC
                  (0696); and Hexion Nova Scotia Finance, ULC (N/A). The address
                  of the Debtors’ corporate headquarters is 180 East Broad Street,
                  Columbus, Ohio 43215.

                  6.       The Debtors also request that the Court make separate docket entries in

each of the Debtors’ chapter 11 cases (except that of Hexion Holdings LLC), substantially

similar to the following:
                                                   3
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                  An order has been entered in this case consolidating this case with
                  the case of Hexion Holdings LLC (Case No. 19-10684 ( )) for
                  procedural purposes only and providing for its joint administration
                  in accordance with the terms thereof. The docket in Case No. 19-
                  10684 ( ) should be consulted for all matters affecting this case.

                                   BASIS FOR RELIEF REQUESTED

                   7.      Bankruptcy Rule 1015(b) provides, in relevant part, that “[i]f . . . two or

 more petitions are pending in the same court by or against . . . a debtor and an affiliate, the

 court may order a joint administration of the estates.” Fed. R. Bankr. P. 1015(b). The Debtors

 are “affiliates” of each other as that term is defined in section 101(2) of the Bankruptcy Code,

 as Hexion Holdings LLC directly or indirectly owns one hundred percent (100%) of the equity

 interests in all of the other Debtors. Further, the Debtors comprise a single business with

 highly integrated operations that rely on an interconnected network of suppliers, vendors

 and customers. This Court thus is authorized to consolidate the Debtors’ cases for procedural

 purposes.

                  8.       Local Rule 1015-1 provides additional authority for the Court to order

joint administration of these chapter 11 cases:

                  An order of joint administration may be entered, without notice
                  and an opportunity for hearing, upon the filing of a motion for joint
                  administration pursuant to Fed. R. Bankr. P. 1015, supported by an
                  affidavit, declaration or verification, which establishes that the
                  joint administration of two or more cases pending in the Court
                  under title 11 is warranted and will ease the administrative burden
                  for the Court and the parties. An order of joint administration
                  entered in accordance with this Local Rule may be reconsidered
                  upon motion of any party in interest at any time. An order of joint
                  administration under this Local Rule is for procedural purposes
                  only and shall not cause a “substantive” consolidation of the
                  respective debtors’ estates.

Del. Bankr. L.R. 1015-1.




                                                    4
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                  Case 19-10684-KG         Doc 2    Filed 04/01/19    Page 9 of 21



                  9.       The Knight Declaration establishes that joint administration of the

Debtors’ cases is warranted because it will ease the administrative burden on the Court and all

parties in interest. Joint administration of the Debtors’ cases will eliminate the need for duplicate

pleadings, notices, and orders in each of the respective dockets and will save the Court, the

Debtors, and other parties in interest substantial time and expense when preparing and filing such

documents. Further, joint administration will protect parties in interest by ensuring that they will

be apprised of the various motions filed with the Court with respect to each of the Debtors’

cases. Therefore, joint administration of the Debtors’ cases is appropriate under Bankruptcy

Rule 1015(b) and Local Rule 1015-1.

                  10.      Joint administration will not adversely affect the Debtors’ respective

constituencies because this motion seeks only administrative, not substantive consolidation of the

Debtors’ estates. Parties in interest will not be harmed by the relief requested; instead, parties in

interest will benefit from the cost reductions associated with the joint administration of these

chapter 11 cases.        Accordingly, the Debtors submit that the joint administration of these

chapter 11 cases is in the best interests of their estates, their creditors, and all other parties in

interest.

                  11.      Finally, the Debtors submit that use of the simplified caption, without

reference to the Debtors’ tax identification numbers, addresses, and previous names, will

eliminate cumbersome and confusing procedures and ensure uniformity of pleading

identification. Other case-specific information will be listed in the petitions for the respective

Debtors and such petitions are publicly available and will be provided by the Debtors upon

request. Therefore, the Debtors submit the policies behind the requirements of section 342(c)(1)

of the Bankruptcy Code and Bankruptcy Rules 1005 and 2002(n) have been fully satisfied.


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                  12.      Courts in this District have routinely granted relief similar to the relief

requested in several other cases involving multiple related debtors.3 For these reasons, the

Debtors submit that the relief requested is necessary and appropriate, is in the best interest of

their respective estates and creditors, and should be granted in all respects.

                                                    NOTICE

                  13.      The Debtors will provide notice of this motion by facsimile, e-mail,

overnight delivery, or hand delivery to: (i) Linda J. Casey of the Office of the United States

Trustee for the District of Delaware; (ii) the holders of the 30 largest unsecured claims against

the Debtors on a consolidated basis; (iii) the United States Attorney’s Office for the District of

Delaware; (iv) the attorneys general for the states in which the Debtors conduct business; (v)

Akin Gump Strauss Hauer & Feld LLP as counsel to the ad hoc group of first lien noteholders;

(vi) Milbank LLP as counsel to the ad hoc group of crossover noteholders; (vii) Jones Day as

counsel to the ad hoc group of 1.5 lien noteholders; (viii) Simpson Thacher & Bartlett LLP as

counsel to JPMorgan Chase Bank, N.A. as administrative agent and collateral agent under the

Debtors’ prepetition asset-based revolving credit facility; (ix) Wilmington Trust, National

Association, as trustee under the First Lien Notes and the Second Lien Notes; (x) Arnold &

Porter Kaye Scholer LLP as counsel to Wilmington Savings Fund Society, FSB, as trustee under

the 1.5 Lien Notes; (xi) The Bank of New York Mellon, as trustee under the Borden Debentures;

(xii) Simpson Thacher & Bartlett LLP and Landis Rath & Cobb LLP as counsel to the

administrative agent and collateral agent under the Debtors’ postpetition financing facility; (xiii)

the Internal Revenue Service; (xiv) the Securities and Exchange Commission; (xv) the Pension


3
 See, e.g., In re Imerys Talc Am., Inc., Case No. 19-10289 (LLS) (Bankr. D. Del. Feb. 14, 2019) (D.I. 52); In re LBI
Media, Inc., Case No. 18-12655 (CSS) (Bankr. D. Del. Nov. 21, 2018) (D.I. 22); In re ATD Corp., Case No. 18-
12221 (KJC) (Bankr. D. Del. Oct. 5, 2018) (D.I. 97).


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                 Case 19-10684-KG              Doc 2   Filed 04/01/19    Page 11 of 21



Benefit Guaranty Corporation; and (xvi) the Environmental Protection Agency. Following the

hearing, a copy of this motion and any order entered with respect to it will be served on the

foregoing parties and all parties having filed requests for notice in these chapter 11 cases. A

copy     of    the      motion     is   also    available   on   the    Debtors’   case   website   at

http://www.omnimgt.com/HexionRestructuring.

                  14.      As this motion is seeking “first day” relief, notice of this motion and any

order entered hereon will be served on all parties required by Local Rule 9013-1(m). Due to the

urgency of the relief requested, the Debtors submit that no other or further notice is necessary.

                                          NO PRIOR MOTION

                  15.      The Debtors have not made any prior motion for the relief sought in this

motion to this Court or any other.

                  The Debtors respectfully request entry of an order, substantially in the forms

attached as Exhibit A, granting the relief requested in its entirety and any other relief as is just

and proper.




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                 Case 19-10684-KG      Doc 2   Filed 04/01/19   Page 12 of 21



Dated:     April 1, 2019
           Wilmington, Delaware            /s/ Michael J. Merchant
                                           Mark D. Collins (No. 2981)
                                           Michael J. Merchant (No. 3854)
                                           Amanda R. Steele (No. 5530)
                                           Brendan J. Schlauch (No. 6115)
                                           RICHARDS, LAYTON & FINGER, P.A.
                                           One Rodney Square
                                           920 North King Street
                                           Wilmington, Delaware 19801
                                           Telephone: 302-651-7700
                                           Fax:           302-651-7701
                                           Email:         collins@rlf.com
                                                          merchant@rlf.com
                                                          steele@rlf.com
                                                          schlauch@rlf.com

                                           - and -

                                           George A. Davis (pro hac vice pending)
                                           Andrew M. Parlen (pro hac vice pending)
                                           Hugh Murtagh (pro hac vice pending)
                                           LATHAM & WATKINS LLP
                                           885 Third Avenue
                                           New York, New York 10022
                                           Telephone:   (212) 906-1200
                                           Facsimile:   (212) 751-4864
                                           Email:       george.davis@lw.com
                                                        andrew.parlen@lw.com
                                                        hugh.murtagh@lw.com

                                           - and -

                                           Caroline A. Reckler (pro hac vice pending)
                                           Jason B. Gott (pro hac vice pending)
                                           LATHAM & WATKINS LLP
                                           330 North Wabash Avenue, Suite 2800
                                           Chicago, Illinois 60611
                                           Telephone:     (312) 876-7700
                                           Facsimile:     (312) 993-9767
                                           Email:         caroline.reckler@lw.com
                                                          jason.gott@lw.com

                                           Proposed Attorneys for the Debtors and Debtors in
                                           Possession




                                               8
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                                          Exhibit A

                                       Proposed Order




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

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In re:                                                              :
                                                                    :   Chapter 11
HEXION HOLDINGS LLC,                                                :
                                                                    :   Case No. 19-10684 ( )
                                             Debtor.                :
                                                                    :
Tax I.D. No. XX-XXXXXXX                                             :
------------------------------------------------------------------- x
In re:                                                              :
                                                                    :   Chapter 11
HEXION LLC,                                                         :
                                                                    :   Case No. 19-10685 ( )
                                             Debtor.                :
                                                                    :
Tax I.D. No. XX-XXXXXXX                                             :
------------------------------------------------------------------- x
In re:                                                              :
                                                                    :   Chapter 11
HEXION INC.,                                                        :
                                                                    :   Case No. 19-10687 ( )
                                             Debtor.                :
                                                                    :
Tax I.D. No. XX-XXXXXXX                                             :
------------------------------------------------------------------- x
In re:                                                              :
                                                                    :   Chapter 11
LAWTER INTERNATIONAL INC.,                                          :
                                                                    :   Case No. 19-10689 ( )
                                             Debtor.                :
                                                                    :
Tax I.D. No. XX-XXXXXXX                                             :
------------------------------------------------------------------- x
In re:                                                              :
                                                                    :   Chapter 11
HEXION CI HOLDING COMPANY (CHINA) LLC, :
                                                                    :   Case No. 19-10690 ( )
                                             Debtor.                :
                                                                    :
Tax I.D. No. XX-XXXXXXX                                             :
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                 Case 19-10684-KG              Doc 2      Filed 04/01/19       Page 15 of 21



------------------------------------------------------------------- x
In re:                                                              :
                                                                    :   Chapter 11
HEXION NIMBUS INC.,                                                 :
                                                                    :   Case No. 19-10692 ( )
                                             Debtor.                :
                                                                    :
Tax I.D. No. XX-XXXXXXX                                             :
                                                                    :
------------------------------------------------------------------- x
In re:                                                              :
                                                                    :   Chapter 11
HEXION NIMBUS ASSET HOLDINGS LLC,                                   :
                                                                    :   Case No. 19-10694 ( )
                                             Debtor.                :
                                                                    :
Tax I.D. No. XX-XXXXXXX                                             :
------------------------------------------------------------------- x
In re:                                                              :
                                                                    :   Chapter 11
HEXION DEER PARK LLC,                                               :
                                                                    :   Case No. 19-10696 ( )
                                             Debtor.                :
                                                                    :
Tax I.D. No. XX-XXXXXXX                                             :
------------------------------------------------------------------- x
In re:                                                              :
                                                                    :   Chapter 11
HEXION VAD LLC,                                                     :
                                                                    :   Case No. 19-10698 ( )
                                             Debtor.                :
                                                                    :
Tax I.D. No. XX-XXXXXXX                                             :
                                                                    :
------------------------------------------------------------------- x
In re:                                                              :
                                                                    :   Chapter 11
HEXION 2 U.S. FINANCE CORP.,                                        :
                                                                    :   Case No. 19-10686 ( )
                                             Debtor.                :
                                                                    :
Tax I.D. No. XX-XXXXXXX                                             :
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                 Case 19-10684-KG              Doc 2      Filed 04/01/19       Page 16 of 21



------------------------------------------------------------------- x
In re:                                                              :
                                                                    :   Chapter 11
HEXION HSM HOLDINGS LLC,                                            :
                                                                    :   Case No. 16-10688 ( )
                                             Debtor.                :
                                                                    :
Tax I.D. No. XX-XXXXXXX                                             :
------------------------------------------------------------------- x
In re:                                                              :
                                                                    :   Chapter 11
HEXION INVESTMENTS INC.,                                            :
                                                                    :   Case No. 19-10691 ( )
                                             Debtor.                :
                                                                    :
Tax I.D. No. XX-XXXXXXX                                             :
------------------------------------------------------------------- x
In re:                                                              :
                                                                    :   Chapter 11
HEXION INTERNATIONAL INC.,                                          :
                                                                    :   Case No. 19-10693 ( )
                                             Debtor.                :
                                                                    :
Tax I.D. No. XX-XXXXXXX                                             :
------------------------------------------------------------------- x
In re:                                                              :
                                                                    :   Chapter 11
NORTH AMERICAN SUGAR INDUSTRIES                                     :
INCORPORATED,                                                       :   Case No. 19-10695 ( )
                                                                    :
                                             Debtor.                :
                                                                    :
Tax I.D. No. XX-XXXXXXX                                             :
------------------------------------------------------------------- x
In re:                                                              :
                                                                    :   Chapter 11
CUBAN-AMERICAN MERCANTILE                                           :
CORPORATION,                                                        :   Case No. 19-10697 ( )
                                                                    :
                                             Debtor.                :
                                                                    :
Tax I.D. No. XX-XXXXXXX                                             :
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                 Case 19-10684-KG              Doc 2      Filed 04/01/19       Page 17 of 21



------------------------------------------------------------------- x
In re:                                                              :
                                                                    :   Chapter 11
THE WEST INDIA COMPANY,                                             :
                                                                    :   Case No. 19-10699 ( )
                                             Debtor.                :
                                                                    :
Tax I.D. No. XX-XXXXXXX                                             :
------------------------------------------------------------------- x
In re:                                                              :
                                                                    :   Chapter 11
NL COOP HOLDINGS LLC,                                               :
                                                                    :   Case No. 19-10700 ( )
                                             Debtor.                :
                                                                    :
Tax I.D. No. XX-XXXXXXX                                             :
------------------------------------------------------------------- x
In re:                                                              :
                                                                    :   Chapter 11
HEXION NOVA SCOTIA FINANCE, ULC,                                    :
                                                                    :   Case No. 19-10701 ( )
                                             Debtor.                :
                                                                    :
Tax I.D. No. N/A                                                    :
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           ORDER DIRECTING JOINT ADMINISTRATION OF CHAPTER 11 CASES


                    Upon the Debtors’1 motion (the “Motion”)2 for entry of an order (this “Order”)

directing the Debtors’ chapter 11 cases to be jointly administered for procedural purposes only

and granting certain related relief, all as more fully set forth in the Motion; and due and sufficient

notice of the Motion having been provided under the particular circumstances, and it appearing

that no other or further notice need be provided; and the Court having jurisdiction to consider the

Motion and the relief requested therein in accordance with 28 U.S.C. §§ 157 and 1334 and the

Amended Standing Order of Reference from the United States District Court for the District of

Delaware dated as of February 29, 2012; and consideration of the Motion and the relief requested

therein being a core proceeding under 28 U.S.C. § 157(b)(2); and the Court having authority to

enter a final order consistent with Article III of the United States Constitution; and venue being

proper before this Court under 28 U.S.C. §§ 1408 and 1409; and a hearing having been held to

consider the relief requested in the Motion (the “Hearing”); and upon the Knight Declaration

and the record of the Hearing and all the proceedings before the Court; and the Court having

found and determined that the relief requested to be in the best interests of the Debtors, their

estates and creditors, and any parties in interest; and the legal and factual bases set forth in the

Motion and at the Hearing having established just cause for the relief granted herein; and after




1
  The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are
Hexion Holdings LLC (6842); Hexion LLC (8090); Hexion Inc. (1250); Lawter International Inc. (0818); Hexion CI
Holding Company (China) LLC (7441); Hexion Nimbus Inc. (4409); Hexion Nimbus Asset Holdings LLC (4409);
Hexion Deer Park LLC (8302); Hexion VAD LLC (6340); Hexion 2 U.S. Finance Corp. (2643); Hexion HSM
Holdings LLC (7131); Hexion Investments Inc. (0359); Hexion International Inc. (3048); North American Sugar
Industries Incorporated (9735); Cuban-American Mercantile Corporation (9734); The West India Company (2288);
NL Coop Holdings LLC (0696); and Hexion Nova Scotia Finance, ULC (N/A). The address of the Debtors’
corporate headquarters is 180 East Broad Street, Columbus, Ohio 43215.
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    Capitalized terms used but not defined in this Order have the meanings used in the Motion.


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due deliberation thereon and sufficient cause appearing therefor, it is HEREBY ORDERED

THAT:

                  1.       The Motion is granted as set forth herein.

                  2.       Each of the above-captioned chapter 11 cases of the Debtors are

consolidated for procedural purposes only and shall be jointly administered by the Court under

Case No. 19-[] ( ).

                  3.       Notwithstanding anything in the Motion or Order to the contrary, any

payment made or action taken by any of the Debtors pursuant to the authority granted herein, as

well as the exercise of any and all other rights and authorizations granted or approved hereunder,

shall be subject in all respects to, as applicable, the orders approving the Debtors’ use of cash

collateral and/or post-petition debtor-in-possession financing facilities (collectively, the “DIP

Orders”).

                  4.       Nothing contained in the Motion or this Order is to be deemed or

construed as directing or otherwise effecting a substantive consolidation of these chapter 11

cases.

                  5.       The caption of the jointly administered cases shall read as follows:

                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                     x
In re:                                               :      Chapter 11
                                                     :
HEXION HOLDINGS LLC, et al.,                         :      Case No. 19-10684 ( )
                                                     :
                           Debtors.                  :      Joint Administration Requested
                                                     x




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                  6.       All pleadings and notices shall be captioned as indicated in the preceding

decretal paragraph, and all original docket entries shall be made in the case of Hexion Holdings

LLC, Case No. 19-10684 ( ).

                  7.       A docket entry shall be made in each of the Debtors’ cases (except that of

Hexion Holdings LLC) substantially similar to the following:

                  An order has been entered in this case consolidating this case with
                  the case of Hexion Holdings LLC (Case No. 19-10684 ( )) for
                  procedural purposes only and providing for its joint administration
                  in accordance with the terms thereof. The docket in Case No. 19-
                  10684 ( ) should be consulted for all matters affecting this case.

                  8.       The Debtors are directed to include the following footnote to each

pleading they file and notice they mail in these cases, listing the Debtors in these chapter 11

cases and the last four numbers of their tax identification numbers along with the address of the

Debtors’ corporate headquarters only:

                  The Debtors in these cases, along with the last four digits of each
                  Debtor’s federal tax identification number, are Hexion Holdings
                  LLC (6842); Hexion LLC (8090); Hexion Inc. (1250); Lawter
                  International Inc. (0818); Hexion CI Holding Company (China)
                  LLC (7441); Hexion Nimbus Inc. (4409); Hexion Nimbus Asset
                  Holdings LLC (4409); Hexion Deer Park LLC (8302); Hexion
                  VAD LLC (6340); Hexion 2 U.S. Finance Corp. (2643); Hexion
                  HSM Holdings LLC (7131); Hexion Investments Inc. (0359);
                  Hexion International Inc. (3048); North American Sugar Industries
                  Incorporated (9735); Cuban-American Mercantile Corporation
                  (9734); The West India Company (2288); NL Coop Holdings LLC
                  (0696); and Hexion Nova Scotia Finance, ULC (N/A). The
                  address of the Debtors’ corporate headquarters is 180 East Broad
                  Street, Columbus, Ohio 43215.

                  9.       The terms and conditions of this Order are immediately effective and

enforceable upon its entry.

                  10.      The Debtors are authorized and empowered to take all actions necessary

or appropriate to implement the relief granted in this Order.

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                  11.      This Court retains jurisdiction over all matters arising from or related to

the implementation or interpretation of this Order.


Dated:            ______________, 2019
                  Wilmington, Delaware
                                                 ________________________________________
                                                 UNITED STATES BANKRUPTCY JUDGE




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